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             UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF TEXAS
                 FORT WORTH DIVISION


  John Kelley, et al.

                        Plaintiffs,
                                        Case No. 4:20-cv-00283-O
  v.

  Xavier Becerra, et al.,

                        Defendants.


             RESPONSE TO DEFENDANTS’ MOTION FOR
       SUMMARY JUDGMENT AND REPLY BRIEF IN SUPPORT OF
          PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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      The defendants claim that the plaintiffs have failed to prove standing and have
 failed to demonstrate an entitlement to relief. We will first address the defendants’
 standing objections and then proceed to the merits.

 I.     The Plaintiffs Have Established Standing To Challenge
        The Constitutionality Of 42 U.S.C. § 300gg-13(1)–(4) And
        The Legality Of The Coverage Mandates Under RFRA
      The plaintiffs have brought a facial constitutional challenge to 42 U.S.C.
 § 300gg-13(a)(1)–(4). They are claiming that each of these statutory provisions: (1)

 violates the Appointments Clause by empowering individuals who have not been ap-
 pointed in conformity with the Constitution to unilaterally determine the preventive
 care that private health insurers must cover; and (2) violates the nondelegation doc-
 trine by empowering agencies and entities to determine the preventive care that health
 insurance must cover while failing to provide an “intelligible principle” to guide their
 discretion. See First Amended Complaint, ECF No. 14, ¶ 112(a)–(b). The plaintiffs
 are also claiming that 42 U.S.C. § 300gg-13(a)(1) violates Article II’s vesting clause
 by empowering the U.S. Preventive Services Task Force to unilaterally determine the
 preventive care that health insurance must cover while immunizing that agency from
 the President’s direction, removal, or control. See id. at ¶ 112(c).
      To establish standing, the plaintiffs need only to show that one or more of them

 is suffering an injury in fact, fairly traceable to the defendants’ enforcement of the
 challenged statutory provisions, and likely to be redressed by the requested relief. See
 Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). Each of the plaintiffs is seeking the
 same relief with respect to their constitutional claims against section 300gg-13(a)(1)–
 (4) — a declaratory judgment and injunction that restrains the defendants from en-
 forcing any preventive-care mandate that issued after March 23, 2010. See First




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 Amended Complaint, ECF No. 14, ¶ 112(a)–(c), (e).1 The defendants do not deny
 that each of the plaintiffs is seeking the same relief on these facial constitutional chal-
 lenges to section 300gg-13(a)(1)–(4), and they do not deny that the one-plaintiff rule
 applies to these constitutional claims. See Aaron-Andrew P. Bruhl, One Good Plaintiff
 Is Not Enough, 67 Duke L.J. 481, 484 (2017) (“[A] court entertaining a multiple-
 plaintiff case may dispense with inquiring into the standing of each plaintiff as long as
 the court finds that one plaintiff has standing.”); id. at 554–56 (listing Supreme Court
 cases applying the one-plaintiff rule). So only one plaintiff needs Article III standing
 to challenge the constitutionality of section 300gg-13(a)(1)–(4) under the
 Appointments Clause and the non-delegation doctrine — and only one plaintiff needs
 standing to challenge section 300gg-13(a)(1) under Article II’s vesting clause. See
 Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367,
 2379 n.6 (2020) (“Under our precedents, at least one party must demonstrate Article
 III standing for each claim for relief.”); Department of Commerce v. New York, 139 S.
 Ct. 2551, 2565 (2019) (“For a legal dispute to qualify as a genuine case or contro-
 versy, at least one plaintiff must have standing to sue.”); Rumsfeld v. Forum for Acad.

 & Institutional Rights, Inc., 547 U.S. 47, 53 n.2 (2006) (“[T]he presence of one
 party with standing is sufficient to satisfy Article III’s case-or-controversy require-

 ment.”); Bowsher v. Synar, 478 U.S. 714, 721 (1986).




 1.   The Court has previously ruled that the plaintiffs’ challenge to the Contraceptive
      Mandate is barred by res judicata. See Order, ECF No. 35, at 12–16. But the
      plaintiffs continue to seek relief that would enjoin the enforcement of all preven-
      tive-care mandates issued after March 23, 2010, even though this Court has
      ruled that they cannot prevail on the merits with respect to the Contraceptive
      Mandate. Article III standing analysis looks only to the requested relief, not the
      relief that a plaintiff will ultimately obtain. See Steel Co. v. Citizens for a Better
      Environment, 523 U.S. 83, 103 (1998) (asking whether “the requested relief
      will redress the alleged injury”).


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           A.   At Least One Plaintiff Has Standing To Challenge The
                Constitutionality Of Section 300gg-13(a)(1)–(4) Under The
                Appointments Clause And Nondelegation Doctrine, And The
                Constitutionality Of Section 300gg-13(a)(1) Under Article II’s
                Vesting Clause
      The plaintiff with the easiest case for Article III standing is Braidwood. Braid-
 wood is indisputably suffering Article III injury traceable to section 300gg-13(a)(1)–
 (4) because the preventive-care mandates have deprived the company of its
 prerogative to decide whether and to what extent preventive care will be covered in
 its self-insured plan. Dr. Hotze’s declaration explains in detail how each provision of
 section 300gg-13(a)(1)–(4) has prevented him from limiting or excluding coverage
 of preventive care that he does not want to provide, including preventing care that
 violates his sincere religious beliefs.2 He has also explained how the statute has
 deprived his company of the option to impose copays or deductibles for preventive
 care.3 The defendants do not contest the truth of Dr. Hotze’s declaration, and they
 do not deny that the harms described in Dr. Hotze’s declaration establish Article III
 injury.
      The remaining plaintiffs’ standing to challenge the constitutionality of section

 300gg-13(a)(1)–(4) rests on the doctrine of purchaser standing, which allows litigants
 to sue whenever a statute or agency action deprives them of the opportunity to

 purchase a desired product. See Br. in Support of MSJ at 10 (citing Center for Auto
 Safety v. National Highway Traffic Safety Administration, 793 F.2d 1322, 1332–34
 (D.C. Cir. 1986), and Orangeburg, South Carolina v. FERC, 862 F.3d 1071, 1078
 (D.C. Cir. 2017)); see also Weissman v. Nat’l R.R. Passenger Corp., 21 F.4th 854, 857–
 58 (D.C. Cir. 2021); Consumer Federation of America v. FCC, 348 F.3d 1009, 1012
 (D.C. Cir. 2003) (“[T]he inability of consumers to buy a desired product may con-



 2.   Hotze Decl. ¶¶ 7–8, 10–18 (ECF No. 46, at 68–70).
 3.   Hotze Decl. ¶ 9 (ECF No. 46, at 68).


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 stitute injury-in-fact ‘even if they could ameliorate the injury by purchasing some al-
 ternative product.’”); Competitive Enterprise Institute v. National Highway Traffic
 Safety Administration, 901 F.2d 107, 112–13 (D.C. Cir. 1990) (conferring standing
 on a consumer group to challenge fuel-economy standards that reduced the number
 and variety of larger vehicles available for sale); Community Nutrition Institute v.
 Block, 698 F.2d 1239, 1246–47 (D.C. Cir. 1983) (conferring standing on consumers
 to challenge regulations that “deprived” them of “a lower priced alternative to whole
 milk”), rev’d on other grounds, 467 U.S. 340 (1984).
      Each of the individual religious-objector plaintiffs (Kelley, Starnes, and Mr. and
 Mrs. Maxwell) has been injured by the inability to purchase health insurance that
 excludes or limits coverage of preventive care that violates their sincere religious
 beliefs.4 This injury remains regardless of whether the elimination of preventive-care
 mandates causes premiums to go up or down, because the compulsory coverage of
 objectionable preventive care inflicts injury by making the religious-objector plaintiffs
 complicit in conduct that violates their religious beliefs. See Little Sisters of the Poor
 Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2383 (2020); id. at

 2390–91 (Alito, J., concurring); March for Life v. Burwell, 128 F. Supp. 3d 116, 128–




 4.    See Kelley Decl. ¶¶ 5–15 (ECF No. 46, at 33–37); id. at ¶ 20 (ECF No. 46, at
       37) (“The defendants’ enforcement of 42 U.S.C. § 300gg-13 has eliminated my
       option of obtaining the types of health-insurance policies described in paragraphs
       56 and paragraphs 17–19.”); Starnes Decl. ¶¶ 5–15 (ECF No. 46, 39–43); id.
       at ¶ 16 (ECF No. 46, at 43) (“The defendants’ enforcement of 42 U.S.C.
       § 300gg-13 has eliminated my option of obtaining the types of health-insurance
       policies described in paragraphs 5–6.”); Zach Maxwell Decl. ¶¶ 5–15 (ECF No.
       46, 50–54); id. at ¶ 16 (ECF No. 46, at 54) (“The defendants’ enforcement of
       42 U.S.C. § 300gg-13 has eliminated my option of obtaining the types of health-
       insurance policies described in paragraphs 5–6.”); Ashley Maxwell ¶¶ 5–15
       (ECF No. 46, 56–60); id. at ¶ 16 (ECF No. 46, at 60) (“The defendants’
       enforcement of 42 U.S.C. § 300gg-13 has eliminated my option of obtaining
       the types of health-insurance policies described in paragraphs 5–6.”).


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 29 (D.D.C. 2015) (“[T]he employee plaintiffs have demonstrated that the [Contra-
 ceptive] Mandate substantially burdens their sincere exercise of religion . . . [because]
 [t]he Mandate, in its current form, makes it impossible for employee plaintiffs to pur-
 chase a health insurance plan that does not include coverage of contraceptives to
 which they object.”); Wieland v. United States Dep’t of Health & Human Services, 196
 F. Supp. 3d 1010, 1017 (E.D. Mo. 2016) (federal contraceptive mandate substantially
 burdens the religious freedom of individual consumers of health insurance because
 “the ultimate impact is that Plaintiffs must either maintain a health insurance plan that
 includes contraceptive coverage, in violation of their sincerely-held religious beliefs,
 or they can forgo healthcare altogether”). That injury exists apart from any financial
 consequences that might accompany a ruling that enjoins the continued enforcement
 of the preventive-care mandates. The defendants do not deny this point, and they do
 not deny that the inability to purchase health insurance that excludes religiously or
 morally objectionable coverage constitutes injury in fact. See Defs.’ Br., ECF No. 64,
 at 20–24 (challenging only traceability and redressability with respect to the religious
 objectors).

      Instead, the defendants try to defeat the religious objectors’ standing by claiming
 that they failed to establish traceability and causation. The defendants’ argument

 proceed as follows: (1) The complaint asserts federal RFRA claims against only the
 Contraceptive Mandate and the compulsory coverage of PrEP drugs; (2) The Court
 has dismissed the challenge to the Contraceptive Mandate on res judicata grounds;5
 and (3) The compulsory coverage of PrEP drugs is the only remaining religious-
 freedom injury, and the plaintiffs have failed to prove that this injury is “fairly
 traceable” to section 300gg-13(a)(1) because they “have not provided factual




 5.    See Order, ECF No. 35, at 12–16.


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 evidence showing that, but for the Preventive Services Provision, their insurance plans
 would omit PrEP coverage.” Defs.’ Br., ECF No. 64, at 22; see also id. at 20–24.
      The allegations of the plaintiffs’ complaint are not relevant at this stage of the
 litigation. The rules of civil procedure establish a regime of notice pleading, not code
 pleading,6 and it has long been established that litigants may pursue claims and relief
 in a motion for summary judgment that go beyond the allegations and demands of
 their complaint. See Fed. R. Civ. P. 54(c) (“Every other final judgment should grant
 the relief to which each party is entitled, even if the party has not demanded that relief
 in its pleadings.”); Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292, 2307 (2016)
 (a request in the complaint to issue “such other and further relief as the Court may
 deem just, proper, and equitable” is sufficient to preserve claims that go unmentioned
 in the pleadings);7 Citizens United v. Federal Election Comm’n, 558 U.S. 310, 333
 (2010) (considering and resolving a constitutional challenge to “the facial validity” of
 a statute, even though a facial challenge had never been brought); Peterson v. Bell
 Helicopter Textron, Inc., 806 F.3d 335, 340 (5th Cir. 2015) (“Rule 54(c) authorizes
 district courts to grant any appropriate relief following a general prayer by the plain-

 tiff, even if the plaintiff did not specifically seek it, but only where relief is otherwise




 6.    See Johnson v. City of Shelby, 574 U.S. 10, 12 (2014) (“‘The federal rules effec-
       tively abolish the restrictive theory of the pleadings doctrine, making it clear that
       it is unnecessary to set out a legal theory for the plaintiff’s claim for relief.’”
       (quoting 5 Charles Alan Wright, et al., Federal Practice and Procedure § 1219,
       p. 277–78 (3d ed. 2004)).
 7.    In Hellerstedt, for example, the Supreme Court affirmed a district court ruling
       that enjoined the enforcement of a hospital admitting-privileges law across the
       board — even though the plaintiffs in that case had never even asked the district
       court for that relief at any stage of the district-court proceedings. See Hellerstedt,
       136 S. Ct. at 2307; id. at 2330 (Alito, J., dissenting) (“The Court does this even
       though petitioners . . . did not presume to include such a claim in their com-
       plaint. The Court favors petitioners with a victory that they did not have the
       audacity to seek.”).


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 legally permitted.”); Sapp v. Renfroe, 511 F.2d 172, 176, n.3 (5th Cir. 1975) (allow-
 ing claim for damages raised for first time on appeal in light of Rule 54(c) and the
 catchall prayer for relief in plaintiff’s complaint); Driggers v. Business Men’s Assurance
 Co. of America, 219 F.2d 292, 299 (5th Cir. 1955) (“[T]he final judgment should
 grant the relief to which plaintiff may prove himself entitled, even if he has not de-
 manded such relief in his pleadings.”); 10 Charles Alan Wright & Arthur R. Miller,
 Federal Practice & Procedure § 2664 (4th ed. 2014) (“Because of the second sen-
 tence of Rule 54(c), the demand for judgment required by Rule 8(a)(3) loses much
 of its significance once a case is at issue. If defendant has appeared and begun defend-
 ing the action, adherence to the particular legal theories of counsel that may have
 been suggested by the pleadings is subordinated to the court’s duty to grant the relief
 to which the prevailing party is entitled, whether it has been demanded or not.” (foot-
 notes omitted)). The plaintiffs are allowed to assert RFRA claims that go beyond
 those mentioned in the complaint, and they may certainly present evidence for stand-
 ing that was not specifically described in the pleadings.
     The defendants do not claim that they have been prejudiced by the absence of

 these RFRA claims and standing arguments in the complaint. And the defendants cite
 no authority that prevents a plaintiff from asserting new claims in a motion for sum-

 mary judgment, or presenting additional evidence for standing in summary-judgment
 briefing. The only cases that the defendants cite are Fisher v. Metropolitan Life Insur-
 ance Co., 895 F.2d 1073 (5th Cir. 1990), and Jackson v. Gautreaux, 3 F.4th 182 (5th
 Cir. 2021), which hold only that district courts need not consider new claims pre-
 sented for the first time in a response to a motion for summary judgment — after the
 opposing litigant has already filed his dispositive motion in an attempt to beat back
 the claims of which he is aware. See Fisher, 895 F.2d at 1078 (“This claim was not
 raised in Fisher’s second amended complaint but, rather, was raised in his response to
 the defendants’ motions for summary judgment and, as such, was not properly before


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 the court.”); Jackson, 3 F.4th at 188–89 (“[A] claim which is not raised in the com-
 plaint but, rather, is raised only in response to a motion for summary judgment is not
 properly before the court.” (citations and internal quotation marks omitted)). Neither
 case prevents a plaintiff from asserting new claims in his own motion for summary
 judgment, before the opposing litigant has the opportunity to rebut those claims in
 his own motion for summary judgment, and any attempt to extend Fisher or Jackson
 to this situation would contradict Rule 54(c), Hellerstedt, and Citizens United. See,
 e.g., Lampton v. Diaz, 639 F.2d 223, 227 n.14 (5th Cir. 2011) (“Waiver generally
 will not apply when [an issue] fairly appears in the record as having been raised or
 decided.” (citation and internal quotation marks omitted)); In re Liljeberg Enterprises,
 Inc., 304 F.3d 410, 428 n.29 (5th Cir. 2002) (“[A]n argument is not waived on
 appeal if the argument on the issue before the district court was sufficient to permit
 the district court to rule on it.”); Brown v. Ames, 201 F.3d 654, 663 (5th Cir. 2000)
 (“To avoid being waived, an argument ‘must be raised to such a degree that the trial
 court may rule on it.’” (quoting In re Fairchild Aircraft Corp., 6 F.3d 1119, 1128
 (5th Cir. 1993)). And neither Fisher nor Jackson comes anywhere close to suggesting

 that a litigant is forbidden to produce evidence of standing at the summary-judgment
 stage that was not described in the complaint.

     The more serious problem with the defendants’ argument is that the plaintiffs
 have brought a facial constitutional challenge to section 300gg-13(a)(1)–(4). That
 means they are challenging the constitutionality of Congress’s decision to enact these
 statutory provisions, which purport to empower non-officers (or inferior officers) to
 impose preventive-care mandates without an intelligible principle to guide their dis-
 cretion, and which confer similar authority on individuals who are not subject to pres-
 idential removal and control. See Nicholas Quinn Rosenkranz, The Subjects of the Con-
 stitution, 62 Stan. L. Rev. 1209, 1212–38 (2010). To establish standing to bring these
 facial constitutional claims, the plaintiffs need only to show that the statute has led to


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 an injury of any sort that will be redressed by the requested relief — a judgment that
 pronounces the statute unconstitutional and enjoins the defendants from enforcing
 any preventive-care mandate that issued after March 23, 2010. See, e.g., Americans for
 Prosperity Foundation v. Bonta, 141 S. Ct. 2373, 2380 (2021). They do not need to
 show an injury that is traceable to the mandate to cover PrEP drugs, as the defendants
 claim. See Defs.’ Br., ECF No. 64, at 20–21.8
      In all events, the plaintiffs have proven injuries that are fairly traceable to the PrEP
 mandate — as well as the existence of section 300gg-13(a)(1)–(4). Braidwood is being
 compelled to underwrite coverage for PrEP drugs in its self-insured plan, and it is
 forbidden to amend its plan to exclude this coverage even though the provision of
 this coverage violates Dr. Hotze’s religious beliefs. See Hotze Decl. ¶¶ 10, 14–16
 (ECF No. 46, at 68–70). Braidwood is also being compelled to underwrite other
 forms of coverage that Dr. Hotze does not want to include in Braidwood’s self-insured
 plan, both for religious and non-religious reasons. See Hotze Decl. ¶¶ 7–19 (ECF
 No. 46, at 68–71). And Braidwood is being forbidden to impose copays or deducti-
 bles for any of the preventive care that section 300gg-13(a)(1)–(4) requires it to

 provide. See Hotze Decl. ¶¶ 9, 19 (ECF No. 46, at 68, 71). This is all that is needed
 to establish standing because Braidwood is seeking the same relief as the other plain-

 tiffs on the constitutional claims. See Little Sisters, 140 S. Ct. at 2379 n.6.
      The defendants suggest that Braidwood lacks standing because it never produced
 evidence that the preventive-care mandates affected its premiums. See Defs.’ Br., ECF
 No. 64, at 13. But Braidwood does not need to show that its premiums were affected
 to establish injury in fact. It is enough for Braidwood to claim that it wants to exclude



 8.    The RFRA claims, by contrast, target only particular preventive-care mandates—
       and the plaintiffs do need to show injury traceable to each objectionable mandate
       before establishing standing to seek an injunction against their continued en-
       forcement.


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 or limit the coverage of preventive care required by section 300gg-13(a)(1)–(4), and
 that the requested relief will allow it to do so. Braidwood does not need to prove that
 the requested relief will lower premiums, especially when Dr. Hotze’s objections are
 rooted in his religious convictions rather than a desire to save money. See Hotze Decl.
 ¶¶ 8, 14–18 (ECF No. 46, at 68, 70); see also Burwell v. Hobby Lobby Stores, Inc., 573
 U.S. 682, 720 (2014) (requiring a corporation to “arrange for . . . coverage” that
 violates its religious beliefs imposes a substantial burden (and injury in fact) regardless
 of whether the compulsory coverage saves the corporation money). The mere fact
 that the preventive-care mandates have limited Braidwood’s power to decide the scope
 of preventive-care coverage in its self-insured plan suffices to establish standing. See
 Arizona State Legislature v. Arizona Independent Redistricting Commission, 576 U.S.
 787, 800 (2015) (state constitutional amendment that limits the state legislature’s
 power over redistricting decisions inflicts Article III injury); see also Thole v. U.S. Bank
 N.A., 140 S. Ct. 1615, 1631 (2020) (Sotomayor, J., dissenting) (“[I]njury to a plain-
 tiff’s wallet is not, and has never been, a prerequisite for standing.”).
     The defendants also claim that Braidwood lacks standing to challenge the PrEP

 mandate because Braidwood “presented no evidence that it has been required to make
 any payment related to PrEP so far.” Defs.’ Br., ECF No. 64, at 13. In the defendants’

 view, Braidwood must prove that one or more of its employees will use PrEP drugs
 and force Braidwood to pay for them before Braidwood can challenge the legality of
 the coverage mandate. But Braidwood is suffering injury regardless of whether its
 employees obtain PrEP drugs through its self-insured plan. The requirement to un-
 derwrite coverage of PrEP drugs inflicts injury because Dr. Hotze wants Braidwood’s
 plan to explicitly exclude this coverage, and section 300gg-13(a)(1) and the PrEP
 mandate deprive him of that option. See Hotze Decl. ¶¶ 7–9 (ECF No. 46, at 68).
 That alone confers standing because it deprives Braidwood of the authority to decide
 the contents of its self-insured plan and the coverage that it will offer — and it forces


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 Braidwood to underwrite coverage that violates its religious beliefs. See Nikolao v.
 Lyon, 875 F.3d 310, 316 (6th Cir. 2017) (“[A] litigant suffers an injury to her free
 exercise rights when the state compels her ‘to do or refrain from doing an act forbid-
 den or required by one's religion, or to affirm or disavow a belief forbidden or re-
 quired by one's religion.’” ) (quoting Mozert v. Hawkins Cty. Bd. of Educ., 827 F.2d
 1058, 1066 (6th Cir. 1987)).
     Hobby Lobby was not required to prove that its employees would use
 abortifacient contraception and bill its self-insured plan before challenging the
 Contraceptive Mandate under RFRA. The mere requirement to provide the
 objectionable coverage burdened the company’s religious beliefs and inflicted injury
 in fact. See Hobby Lobby, 573 U.S. at 720 (“By requiring the Hahns and Greens and
 their companies to arrange for such coverage, the HHS mandate demands that they
 engage in conduct that seriously violates their religious beliefs.” (emphasis added));
 see also Wheaton College v. Burwell, 573 U.S. 958 (2014) (granting relief to an em-
 ployer that had “religious objections to providing coverage for contraceptive services,”
 without requiring proof that its employees would use the objectionable contraception

 (emphasis added)). No different result should obtain here.
                                          ***

     The easiest way to dispatch the defendants’ standing objections is to rely on
 Braidwood’s Article III injuries — which are clear and indisputable — and then observe
 that the remaining plaintiffs are seeking the same relief as Braidwood: (1) A
 declaratory judgment that sections 300gg-13(a)(1)–(4) violate the Appointments
 Clause and the non-delegation doctrine; (2) A declaratory judgment that section
 300gg-13(a)(1) violates Article II’s vesting clause; and (3) An injunction against the
 continued enforcement of any preventive-care coverage mandate that issued after
 March 24, 2010. There is more that can be said to rebut the defendants’ standing




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 arguments with regard to the other plaintiffs, but it is unnecessary to reach those
 issues when the one-plaintiff rule allows the remaining plaintiffs to stay in the case.

 II.     42 U.S.C. § 300gg-13(a)(1)–(4) Violate The Appointments
         Clause
       The defendants try to defeat the plaintiffs’ Appointments Clause claim with sev-
 eral different arguments, none of which have merit. We will address the arguments in
 the order that they appear in the defendants’ brief.

         A.     The Secretary’s Purported “Ratification” Of The Preventive-Care
                Mandates Does Not Cure The Appointments Clause Violation
       The defendants first contend that the Appointments Clause objections have been
 obviated by Secretary Becerra’s memo of January 21, 2022, which purports to “ratify”

 the preventive-care mandates that were previously imposed by the U.S. Preventive
 Services Task Force, the Advisory Committee on Immunization Practices (ACIP),
 and the Health Resources and Services Commission (HRSA). See Defs.’ Br., ECF No.
 64, at 27–32; App. to Defs.’ MSJ, ECF No. 65, at 2 (“I ratify the below listed guide-

 lines and recommendations for the reasons relied on by the USPSTF, ACIP and the
 Director of the Centers for Disease Control and Prevention (CDC Director), and the
 HRSA Administrator in their previously published decisions or analyses regarding the
 relevant recommendations.”). But there are two fatal and insurmountable problems

 with the defendants’ ratification argument.

                1.     The Secretary Has No Statutory Authority To Decide
                       Whether To Ratify Or Reject The Preventive-Care
                       Mandates
       The first problem is that the Secretary has no authority to ratify or reject the
 preventive-care mandates imposed by the U.S. Preventive Services Task Force, ACIP,
 or HRSA — and section 300gg-13(a)(4) compels the Secretary to implement their
 decisions whether he approves of them or not. So the Secretary’s purported “ratifica-




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 tion” is a meaningless act; it is nothing more than an acknowledgement of the statu-
 tory obligations imposed upon him by section 300gg-13(a)(4). See Little Sisters of the
 Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2381 (2020) (“By
 its terms, the ACA leaves the Guidelines’ content to the exclusive discretion of HRSA.”
 (emphasis added)). If section 300gg-13(a)(4) allowed the Secretary to veto or approve
 the preventive-care mandates recommended by the U.S. Preventive Services Task
 Force, ACIP, or HRSA, then the defendants could plausibly argue that Secretary
 Becerra’s ratification cures any Appointments Clause problems with the regime de-
 scribed in section 300gg-13(a)(4). See Guedes v. Bureau of Alcohol, Tobacco. Firearms,
 and Explosives, 920 F.3d 1, 11 (D.C. Cir. 2019) (rejecting Appointments Clause chal-
 lenge to an agency rule issued by then-Acting Attorney General Matthew Whitaker,
 because the rule had been “independently ratified by Attorney General William Barr,
 whose valid appointment and authority to ratify is unquestioned.” (emphasis added));
 26 U.S.C. §§ 7801(a)(1), 7801(a)(2)(A), 7805(a) (empowering the Attorney Gen-
 eral to “prescribe all needful rules and regulations for the enforcement of” the Na-
 tional Firearms Act); 18 U.S.C. § 926(a) (empowering the Attorney General to “pre-

 scribe only such rules and regulations as are necessary to carry out the provisions of”
 the Gun Control Act of 1968). But Guedes is no help to the defendants because there

 is no statute that empowers the Secretary to impose preventive-care coverage man-
 dates, or to ratify or overrule the coverage requirements imposed by the U.S. Preven-
 tive Services Task Force, ACIP, or HRSA. See Consumer Financial Protection Bureau
 v. Gordon, 819 F.3d 1179, 1191–92 (9th Cir. 2016) (“[F]or a ratification to be ef-
 fective, ‘it is essential that the party ratifying should be able not merely to do the act
 ratified at the time the act was done, but also at the time the ratification was made.’”
 (quoting Federal Election Comm’n v. NRA Political Victory Fund, 513 U.S. 88, 98
 (1994) (emphasis in original)); Federal Election Comm’n v. NRA Political Victory
 Fund, 513 U.S. 88, 98 (1994) (“‘[I]t is essential that the party ratifying should be


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 able not merely to do the act ratified at the time the act was done, but also at the time
 the ratification was made.’” (quoting Cook v. Tullis, 85 U.S. (18 Wall.) 332, 338
 (1874) (emphasis in original)). Neither the defendants nor this Court can re-write the
 statute by transferring the prerogatives of the U.S. Preventive Services Task Force,
 ACIP, and HRSA to the Secretary of Health and Human Services, or making their
 decisions defeasible by a principal officer or cabinet secretary. See Henry Schein, Inc.
 v. Archer & White Sales, Inc., 139 S. Ct. 524, 528 (2019) (“[W]e are not at liberty to
 rewrite the statute passed by Congress and signed by the President.”).
     The defendants nonetheless insist that the Secretary has authority to “ratify” the
 coverage mandates imposed by ACIP and HRSA — despite the clear and unambigu-
 ous statutory text that makes their decisions final and conclusive. See Defs.’ Br., ECF
 No. 64, at 28–32. Yet the defendants never go so far as to claim that the Secretary
 can revoke a preventive-care coverage mandate imposed by ACIP and HRSA; their
 argument (as best we can tell) is that the Secretary can ratify but not countermand
 those decisions. See id. at 29 (“The Secretary has the power to ratify any actions taken
 by his subordinates.”); id. at 30 (“The Secretary thus has the power to ratify the de-

 cisions of his subordinates in these areas.”). The defendants’ ratification argument also
 appears to be limited to the coverage mandates imposed by ACIP and HRSA, as op-

 posed to mandates recommended by the U.S. Preventive Services Task Force. See id.
 at 28–32; id. at 28 (“Plaintiffs’ argument ignores the identity and structure of ACIP
 and HRSA and their respective positions within the hierarchy of HHS.”). So there
 appears to be common ground on at least this much: The Secretary has no statutory
 authority to “ratify” the coverage mandates imposed by the U.S. Preventive Services
 Task Force, which is not a component of HHS and is not subject to the Secretary’s
 supervision. But see App. to Defs.’ MSJ, ECF No. 65, at 2 (“I ratify the below listed
 guidelines and recommendations for the reasons relied on by the USPSTF”).




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     Yet the defendants cannot identify any statute that empowers the Secretary to
 review, ratify, countermand, or revoke a coverage mandate imposed by ACIP or
 HRSA. Instead, they claim that the Secretary wields an inherent authority to “ratify”
 (but not revoke?) the decisions of any person or entity within the Department of
 Health and Human Services, even when a statute purports to vest final decisionmak-
 ing authority in a subordinate institution. But they cite no authority to support this
 idea, and it has long been settled that Congress may vest final decisionmaking author-
 ity in subordinate executive officers without subjecting those decisions to review or
 override by a cabinet secretary or the President. See Myers v. United States, 272 U.S.
 52, 135 (1926) (“[T]here may be duties so peculiarly and specifically committed to
 the discretion of a particular officer as to raise a question whether the President may
 overrule or revise the officer’s interpretation of his statutory duty in a particular in-
 stance.”); Humphrey’s Executor v. United States, 295 U.S. 602, 628 (1935) (holding
 that Congress may empower agencies to act “without executive leave” and “free from
 executive control”). That remains the case even when the President enjoys the con-
 stitutional prerogative to remove an officer who deploys his discretionary powers in a

 manner not to the President’s liking. See Myers, 272 U.S. at 135 (“[E]ven in such a
 case he may consider the decision after its rendition as a reason for removing the

 officer, on the ground that the discretion regularly entrusted to that officer by statute
 has not been on the whole intelligently or wisely exercised.”). The statute means what
 it says: the Secretary must implement the preventive-care coverage mandates recom-
 mended by ACIP and HRSA, and he has no statutory authority to override or ratify
 their decisions.
     The defendants note that Little Sisters allowed the Secretary to impose religious
 and moral exemptions to the Contraceptive Mandate when implementing HRSA’s
 decision to include contraception within the scope of “preventive care” under section
 300gg-13(a)(4). See Defs.’ Br., ECF No. 64, at 30–31; Little Sisters, 140 S. Ct. at


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 2379–82. But the Secretary in Little Sisters claimed nothing more than a prerogative
 to “guide HRSA in exercising the discretion afforded to it” in section 300gg-
 13(a)(4), by “defining the scope of permissible exemptions and accommodations for
 such guidelines.”9 The Secretary did not claim that it could override or in any way
 second-guess HRSA’s decision to include contraception (or anything else) within the
 scope of preventive-care coverage required by section 300gg-13(a)(4), and Little Sis-
 ters did not recognize or uphold any such power. Nor do the defendants claim (as far
 as we can tell) that the Secretary can unilaterally cancel the Contraceptive Mandate or
 revoke HRSA’s decision to include contraception within the preventive-care coverage
 required by section 300gg-13(a)(4). The Secretary’s power to “guide HRSA” by de-
 fining “exemptions and accommodations” to its coverage mandates is a far cry from
 a power to review, ratify, countermand, or revoke a recommendation from ACIP or
 HRSA regarding the preventive care that must be covered by private insurers under
 300gg-13(a)(2)–(4) — and that is the type of power that the defendants must estab-
 lish to defeat the plaintiffs’ Appointments Clause objections.
      Finally, the defendants suggest that this Court must interpret section 300gg-

 13(a)(2)–(4) to confer a ratification prerogative on the Secretary because a contrary
 interpretation would present serious constitutional questions under the Appointments

 Clause. See Defs.’ Br., ECF No. 64, at 32; see also Jennings v. Rodriguez, 138 S. Ct.
 830, 842 (2018) (“When ‘a serious doubt’ is raised about the constitutionality of an
 act of Congress, ‘it is a cardinal principle that this Court will first ascertain whether a
 construction of the statute is fairly possible by which the question may be avoided.’”


 9.   Religious Exemptions and Accommodations for Coverage of Certain Preventive
      Services Under the Affordable Care Act, 82 Fed. Reg. 47,792, 47,794 (October
      13, 2017) (“To guide HRSA in exercising the discretion afforded to it in section
      2713(a)(4) of the PHS Act, the Departments have previously promulgated reg-
      ulations defining the scope of permissible exemptions and accommodations for
      such guidelines.”).


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 (quoting Crowell v. Benson, 285 U.S. 22, 62 (1932)). But the defendants’ constitu-
 tional-avoidance argument fails for two reasons. First, the defendants have failed to
 identify any statutory language that could be construed to give the Secretary a ratifi-
 cation power over the decisions made by ACIP and HRSA. The unambiguous text of
 section 300gg-13(a)(2)–(4) empowers ACIP and HRSA to decide the preventive care
 that private insurers must cover — and it requires the Secretary to honor and imple-
 ment their decisions. The constitutional-avoidance canon is inapplicable absent an
 identified statutory ambiguity, and courts cannot invoke the canon to rewrite or ig-
 nore the enacted statutory text. See Jennings, 138 S. Ct. at 842 (“The canon of con-
 stitutional avoidance comes into play only when, after the application of ordinary tex-
 tual analysis, the statute is found to be susceptible of more than one construction. In
 the absence of more than one plausible construction, the canon simply has no appli-
 cation.” (citations and internal quotation marks omitted)).
     Second, the defendants’ proposed interpretation of the statute would not elimi-
 nate the Appointments Clause problems. Even if the Secretary had the authority to
 veto or “ratify” HRSA’s guidelines or ACIP’s recommendations, section 300gg-

 13(a)(2)–(4) would still violate the Appointments Clause because it empowers HRSA
 or ACIP to dictate the preventive care that private insurers must cover until the Sec-

 retary formally approves their decisions. That constitutes “significant authority pur-
 suant to the laws of the United States,” even if it remains subject to reversal by an
 “officer of the United States,” because the power to impose preventive-care mandates
 on private insurers — even for a limited period of time — amounts to “significant au-
 thority” in and of itself. See Lucia v. SEC, 138 S. Ct. 2044, 2049 (2018) (holding
 that the SEC’s administrative law judges qualify as “officers of the United States,”
 even though their decisions are subject to review by the Commission itself). And the
 defendants’ proposed interpretation does nothing to eliminate the Appointments
 Clause problems with section 300gg-13(a)(1), which empowers the U.S. Preventive


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 Services Task Force — an entity that everyone agrees is outside the Secretary’s control
 and supervision — to impose preventive-care mandates on private insurers. The con-
 stitutional-avoidance canon is inapplicable when a litigant’s proposed interpretation
 of a statute continues to present constitutional questions for the courts to resolve. See
 Jennings, 138 S. Ct. at 836 (“Under the constitutional-avoidance canon, . . . a court
 may shun an interpretation that raises serious constitutional doubts and instead may
 adopt an alternative that avoids those problems.” (emphasis added)).

               2.      Section 300gg-13(a)(2)–(4) And The Coverage Mandates
                       Will Remain Unconstitutional Even If Secretary Becerra
                       Can “Ratify” The Preventive-Care Recommendations Of
                       ACIP and HRSA
     There is a second problem with the defendants’ ratification argument, which they
 do not address in their brief. Even if one were to accept the idea that Secretary Becerra

 can “ratify” (or disapprove?) the preventive-care coverage recommended by ACIP and
 HRSA, the statute remains unconstitutional because it continues to empower non-
 officers (or inferior officers) to impose preventive-care mandates on their own initia-
 tive, and it makes the imposition of any preventive-care mandate contingent on the
 approval of ACIP, HRSA, or the U.S. Preventive Services Task Force. So all of these
 entities continue to wield “significant authority pursuant to the laws of the United
 States,” and each of their decisionmakers must be appointed in a manner consistent
 with the Appointments Clause.

     Under the defendants’ construction of the statute, ACIP and HRSA coverage
 recommendations are subject to “ratification” by the Secretary of Health and Human
 Services. See Defs.’ Br., ECF No. 64, at 27–32. But not even the defendants have
 gone so far as to suggest that the Secretary (or any other principal officer) can impose
 a preventive-care coverage mandate against the wishes or recommendations of ACIP
 and HRSA. On the defendants’ view, ACIP and HRSA serve a gatekeeping role in
 deciding the preventive care that private insurers must cover. Their recommendations



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 are a necessary (though perhaps not sufficient) condition to imposing a coverage man-
 date under section 300gg-13(a)(2)–(4). But that still qualifies as “significant authority
 pursuant to the laws of the United States,” because no preventive-care coverage man-
 date can be imposed under section 300gg-13(a)(2)–(4) unless ACIP or HRSA signs
 off on it. And that remains the case even if the Secretary has the power to ratify or
 veto ACIP’s or HRSA’s recommendations. In Lucia, for example, the Court held that
 the SEC’s administrative law judges were “officers of the United States” — even though
 their decisions were subject to review by the Commission itself — and it rejected the
 notion that this subsequent review or ratification of the ALJ’s decisions could elimi-
 nate their status as “officers” or remove the taint of the Appointments Clause viola-
 tion. See Lucia, 138 S. Ct. at 2049; id. at 2055 (“[T]he ‘appropriate’ remedy for an
 adjudication tainted with an appointments violation is a new ‘hearing before a
 properly appointed’ official.” (quoting Ryder v. United States, 515 U.S. 177, 182–83
 (1995)).
     The defendants barely address Lucia, although they do acknowledge the decision
 in a footnote and attempt to distinguish it by observing that Lucia involved a tainted

 adjudication rather than a rulemaking. See Defs.’ Br., ECF No. 64, at 34 n.22. But it
 is not at all apparent why that should make any difference in determining whether this

 Court should enjoin the continued enforcement of these “ratified” preventive-care
 mandates. If the SEC’s ratification of an improperly appointed ALJ’s decision could
 not “cure” the Appointments Clause violation or remove the taint of the ALJ’s in-
 volvement, then why should Secretary Becerra’s purported ratification of the previ-
 ously announced preventive-care mandates produce such an effect? Especially when
 the approval of ACIP and HRSA is an essential statutory prerequisite to the enactment
 of these coverage requirements. The defendants have no answer to any of this, and
 they do not come to grips with the fact that the Secretary cannot ratify any coverage
 mandate that ACIP or HRSA has not first approved.


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        B.     The Court Cannot Remedy The Appointments Clause Violations
               By Conferring A Ratification Prerogative Upon The Secretary
     Similar problems plague the defendants’ requested remedy for any Appointments

 Clause problems that might exist with section 300gg-13(a)(1)–(4). Relying on
 United States v. Arthrex, Inc., 141 S. Ct. 1970 (2021), the defendants insist that the
 proper remedy for any Appointments Clause violation is for this Court to invent a
 prerogative for the Secretary to “ratify” the preventive-care coverage recommenda-
 tions of the U.S. Preventive Services Task Force, the Advisory Committee on Immun-
 ization Practices, and the Health Resources and Services Administration, and then
 hold that the Secretary’s ratification document of January 21, 2022, obviates the
 plaintiffs’ Appointments Clause objections to the extant coverage mandates. This pro-
 posed remedy is unlawful for many reasons.
     The first problem is what we have already discussed: A regime in which the Sec-
 retary “ratifies” the recommendations of ACIP, HRSA, and the U.S. Preventive Ser-
 vices Task Force still violates the Appointments Clause. Each of these subordinate

 entities will remain empowered to impose preventive-care mandates on their own in-
 itiative, which will take effect and remain in effect until the Secretary gets around to
 issuing his ratification decision. In addition, neither the Secretary — nor any other
 principal officer of the United States — has any authority to adopt or impose a pre-

 ventive-care coverage mandate unless ACIP, HRSA, or the U.S. Preventive Services
 Task Force first recommends it. The defendants envision a regime in which both the
 Secretary and the subordinate entities have gatekeeping functions in deciding which
 preventive care the private insurers must cover. But that means that ACIP, HRSA,
 and the U.S. Preventive Services Task Force still wield “significant authority pursuant
 to the laws of the United States,”10 because no preventive-care mandate can take effect




 10. Buckley v. Valeo, 424 U.S. 1, 126 (1976) (per curiam).


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 without their recommendation and approval. And it does nothing to make the “prin-
 cipal officers” at ACIP, HRSA, or the Preventive Services Task Force into “inferior
 officers,” because no principal officer will have any ability to review or countermand
 their decisions not to adopt a preventive-care mandate. See Arthrex, 141 S. Ct. at
 1981. Finally, even if the defendants’ proposed remedy could somehow convert every
 “principal officer” at ACIP, HRSA, and the Preventive Services Task Force into an
 “inferior officer,” the regime would still violate the Appointments Clause because
 there is no statute that “vests” the appointment of these individuals in the President
 alone, the Courts of Law, or the Heads of Department.
     The situation in Arthrex was different because the court-imposed remedy made
 every decision by the Administrative Patent Judges reviewable by the Director of the
 Patent and Trademark Office — regardless of which direction the decision took. A
 decision denying the validity of a patent was subject to plenary review by the Senate-
 confirmed Director in the same manner as a decision upholding the patent’s validity.
 See Arthrex, 141 S. Ct. at 1986 (“Decisions by APJs must be subject to review by the
 Director.”). The Court’s remedy therefore ensured that the decisions of Administra-

 tive Patent Judges would always be subject to review by a principal officer, and the
 APJs would have no ability to render an unreviewable decision on anything pertaining

 to a patent’s validity. The defendants’ proposed remedy, by contrast, allows for prin-
 cipal-officer review only of decisions to recommend preventive-care coverage, and it
 leaves ACIP, HRSA, or the Preventive Services Task Force with unreviewable discre-
 tion when they decline to enact or recommend new coverage mandates. In addition,
 there was no dispute in Arthrex that the Administrative Patent Judges were appointed
 as “inferior officers” in a manner consistent with Article II. See Arthrex, Inc., 141 S.
 Ct. at 1983 (acknowledging the Administrative Patent Judges’ “status as inferior of-
 ficers”). In this case, by contrast, the relevant individuals in ACIP, HRSA, and the
 U.S. Preventive Services Task Force have not been appointed as “inferior officers,”


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 because there is no statute vesting their appointment in the President alone, the
 Courts of Law, or the Heads of Department.
     The second problem with the defendants’ requested remedy is that a federal court
 simply does not have the power to invent and confer a ratification prerogative on the
 Secretary. Courts issue judgments between litigants when resolving cases, and those
 judgments may include a declaration of the parties’ rights11 or an injunction that re-
 strains a litigant from taking particular actions. The defendants make no effort to
 explain how their requested remedy can take the form of an injunction or declaration
 of the plaintiffs’ or defendants’ rights.
     A final problem is that the plaintiffs have not asked for this remedy, and it is not
 clear how the plaintiffs could have Article III standing to pursue or obtain such a
 remedy. The plaintiffs claim to be injured by the Secretary’s enforcement of the pre-
 ventive-care mandates, not by his failure to ratify them. See First Amended Complaint,
 ECF No. 14. A remedy from this Court that does not redress any of the plaintiffs’
 injuries is incompatible with Article III. See Steel Co. v. Citizens for a Better Environ-
 ment, 523 U.S. 83, 107 (1998) (“Relief that does not remedy the injury suffered

 cannot bootstrap a plaintiff into federal court.”); Collins v. Mnuchin, 938 F.3d 553,
 611 (5th Cir. 2019) (Oldham, J., concurring in part and dissenting in part) (“[O]ur

 Court does not have the power under Article III to order a remedy that does not
 redress Plaintiffs’ injuries.”).




 11. See 28 U.S.C. § 2201 (empowering federal courts to “declare the rights and
     other legal relations of any interested party seeking such declaration”).


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        C.     The HRSA Administrator, The Members Of ACIP, And The
               Members Of The U.S. Preventive Services Task Force Have Been
               Unconstitutionally Appointed
     The defendants also contend that there is no need to rely on Secretary Becerra’s
 ratification document because all of the relevant actors have been appointed in a man-
 ner consistent with Article II. None of their arguments have merit.

               1.     The Members Of ACIP Have Been Unconstitutionally
                      Appointed
     The defendants claim that we should consider not the appointments of the ACIP

 members, but the appointment of the CDC Director. See Defs.’ Br., ECF No. 64, at
 37 (“[I]t is the CDC Director’s appointment that is relevant with respect to ACIP.”).
 According to the defendants, ACIP serves as a “federal advisory committee” estab-
 lished under 42 U.S.C. § 217a, which exists solely for the purpose of advising the
 Secretary of Health and Human Services and the Director of the CDC. See Defs.’ Br.,
 ECF No. 64, at 4–5. The defendants note that ACIP’s advisory recommendations
 may take effect only if they are adopted by the CDC Director. See id. at 5; see also
 App. to Defs.’ MSJ, ECF No. 65, at 148–52 (charter of ACIP). And they insist that
 ACIP’s immunization-coverage recommendations under section 300gg-13(a)(2) like-
 wise cannot take effect absent approval from the Director of the CDC.
     The defendants’ stance is incompatible with the text of section 300gg-13(a)(2).
 Although the defendants are correct to observe that ACIP was a purely advisory com-
 mittee prior to March 23, 2010, that changed when the President signed the Afford-
 able Care Act into law. Section 300gg-13(a)(2) gives ACIP’s “recommendations”
 binding force, and ACIP is no longer acting in an “advisory” capacity when it “rec-
 ommends” immunizations. The Affordable Care Act gives ACIP the power to dictate
 the immunizations that private insurers must cover, transforming what was once a
 purely advisory body into an entity that wields “significant authority pursuant to the
 laws of the United States.”




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     The defendants claim that the ACIP Charter allows the CDC director to “review”
 ACIP’s recommendations before they take effect,12 but the ACIP Charter cannot
 override the text of section 300gg-13(a)(2). It is also far from clear that the language
 in the ACIP Charter even allows the CDC director to countermand section 300gg-
 13(a)(2) by freeing private insurers from the requirement to cover vaccines that ACIP
 recommends. The ACIP Charter merely says that “Recommendations made by the
 ACIP are reviewed by the CDC Director”;13 it does not say that the CDC Director
 may veto vaccine recommendations that he disagrees with, or that non-approved vac-
 cine recommendations are no longer binding on private insurers under section 300gg-
 13(a)(2).
     The members of ACIP are “principal officers” because section 300gg-13(a)(2)
 empowers them to unilaterally determine the immunizations that private insurers
 must cover, and the statute requires that their “recommendations” take effect without
 subjecting their work to the direction and supervision of a principal officer. See Ed-
 mond v. United States, 520 U.S. 651, 662–63 (1997) (“‘[I]nferior officers’ are officers
 whose work is directed and supervised at some level by others who were appointed

 by Presidential nomination with the advice and consent of the Senate.”); United States
 v. Arthrex, Inc., 141 S. Ct. 1970, 1980 (2021) (same). It is undisputed that the mem-




 12. See Defs.’ Br., ECF No. 64, at 37–38.
 13. App. to Defs.’ MSJ, ECF No. 65, at 148; see also id. (“The ACIP shall provide
     advice and guidance to the Director of the CDC regarding use of vaccines and
     related agents for effective control of vaccine-preventable diseases in the civilian
     population of the United States. Recommendations made by the ACIP are re-
     viewed by the CDC Director, and if adopted, are published as official
     CDC/HHS recommendations in the Morbidity and Mortality Weekly Report
     (MMWR). The CDC Director informs the Secretary, HHS, and the Assistant
     Secretary for Health, of immunization recommendations. Upon the licensure of
     any vaccine or any new indication for a vaccine, the committee shall, as appro-
     priate, consider the use of the vaccine at its next regularly scheduled meeting.”).


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 bers of ACIP have not been appointed in conformity with the Constitution’s require-
 ments for principal officers. Yet the defendants’ only response to our principal-officer
 argument is to claim that the Secretary of Health and Human Services can direct and
 supervise ACIP’s vaccine recommendations by “ratifying” them — even though the
 statute gives the Secretary no such power and any attempt to override ACIP’s vaccine
 recommendations or free private insurers from their statutory obligation to cover the
 recommended vaccines would be a flagrant violation of unambiguous statutory text.
     And even if the members of ACIP could somehow be passed off as “inferior of-
 ficers,” their appointments remain unconstitutional because there is no Act of Con-
 gress that “vests” those appointments in the President, the Courts of Law, or the
 Heads of Department. See U.S. Const. art. II, § 2, cl. 2 (“Congress may by Law vest
 the Appointment of such inferior Officers, as they think proper, in the President alone,
 in the Courts of Law, or in the Heads of Departments.”). The defendants note that
 members of ACIP are “selected by the Secretary,”14 but they fail to identify any federal
 statute that vests their appointment in Secretary. The defendants can point only to the
 ACIP charter, which says that ACIP members “shall be selected by the Secretary and

 shall be invited to serve for overlapping terms of up to four years.” App. to Defs.’ MSJ,
 ECF No. 65, at 151. But the ACIP charter is not a “law” enacted by “Congress.”

 And the defendants cannot rely on 42 U.S.C. § 217a because that statute authorizes
 the Secretary to make appointments only to “such advisory councils or committees
 . . . for the purpose of advising him in connection with any of his functions.” 42 U.S.C.
 § 217a (emphasis added). ACIP is no longer a purely advisory committee after the
 enactment of the Affordable Care Act, because it is now empowered to decide the
 preventive care that private insurance must cover.




 14. See Defs.’ Br., ECF No. 64, at 5.


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               2.      The Administrator Of HRSA Has Been Unconstitutionally
                       Appointed
     The administrator of HRSA is a “principal officer” for the same reason. Sections

 300gg-13(a)(3) and (a)(4) empower HRSA to unilaterally determine the preventive
 care that private insurers must cover, and HRSA’s preventive-care recommendations
 are not subject to the direction or supervision of the Secretary or any other principal
 officer. See Little Sisters, 140 S. Ct. at 2381 (“By its terms, the ACA leaves the Guide-
 lines’ content to the exclusive discretion of HRSA.” (emphasis added)). The defendants
 think the administrator of HRSA should be deemed an “inferior officer” because the
 administrator lacks tenure protections and “serves at the pleasure of the Secretary.”
 See Defs.’ Br., ECF No. 64, at 38. But removability is not the test for determining
 one’s status as a “principal” or “inferior” officer. Cabinet secretaries lack tenure pro-
 tections and serve at the pleasure of the President, but their removability at will does
 not make them into “inferior” officers. And the civil-service protections that low-level
 bureaucrats enjoy does not convert those individuals into “principal” officers. See My-

 ers, 272 U.S. at 173–74. One’s status as an “inferior” officer depends on whether the
 individual’s work is “directed and supervised” by principal officers — not on whether
 the officer is subject to at-will removal. See Edmond v. United States, 520 U.S. 651,
 662–63 (1997) (“‘[I]nferior officers’ are officers whose work is directed and super-

 vised at some level by others who were appointed by Presidential nomination with the
 advice and consent of the Senate.”); Arthrex, 141 S. Ct. at 1980 (same). The HRSA
 administrator’s preventive-care recommendations are not subject to any such direc-
 tion or supervision, as the statute makes HRSA’s determinations conclusive regarding
 the preventive care that private insurers must cover. The administrator of HRSA is
 therefore a principal officer, and he has not been appointed in conformity with the
 Appointments Clause.




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     Even if one were to indulge the defendants’ assumption that the HRSA adminis-
 trator is an “inferior” officer, his appointment remains unconstitutional because there
 is no law enacted by Congress that “vests” his appointment in the President alone,
 the Courts of Law, or the Heads of Department. The defendants claim that the Re-
 organization Plan No. 3 of 1966 “vests” the administrator’s appointment in the Sec-
 retary, but the statute says only that:

        The Secretary may from time to time make such provisions as he shall
        deem appropriate authorizing the performance of any of the functions
        transferred to him by the provisions of this reorganization plan by any
        officer, employee, or agency of the Public Health Service or of the De-
        partment of Health, Education, and Welfare.
 5 U.S.C. § App. 1 Reorg. Plan 3 1966 (emphasis added). This statutory provision
 merely empowers the Secretary to authorize others to perform functions “transferred
 to him.” It says nothing about how those officers, employees, or agencies that perform
 those functions should be appointed. And it nowhere purports to modify the default
 rule of Presidential appointment with the Senate’s advice and consent — nor does au-
 thorize the Secretary to modify that constitutional default rule on behalf of Congress.
 And even if the statute did delegate this congressional authority to the Secretary, the

 defendants do not point to any “provision” made by the Secretary that purports to
 vest the appointment of the HRSA administrator in the Secretary alone.

     Finally, the defendants are flatly wrong to claim that the HRSA Administrator is
 exercising “authority vested in the Secretary and delegated to [HRSA] by the Secre-
 tary.” Defs.’ Br., ECF No. 64, at 39. The HRSA Administrator is exercising authority
 that was delegated directly to HRSA by Congress in sections 300gg-13(a)(3) and
 (a)(4). The statutory language specifically vests HRSA — and not the Secretary — with
 the power to determine the preventive care and screenings that private insurers must
 cover. And that delegation of authority came directly from Congress; the Secretary
 had no role in vesting or delegating any of these powers.



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               3.     The Members Of U.S. Preventive Services Task Force Have
                      Been Unconstitutionally Appointed
     The defendants deny that the members of the U.S. Preventive Services Task Force

 qualify as “officers of the United States,”15 but none of their arguments hold water.
 An individual qualifies as a “officer of the United States” if they: (1) “occupy a con-
 tinuing position established by law”; and (2) “exercise significant authority pursuant
 to the laws of the United States.” Lucia v. SEC, 138 S. Ct. 2044, 2051 (2018). The
 defendants do not acknowledge or apply this two-part test from Lucia, but the mem-
 bers of the Task Force comfortably satisfy each prong.

                      a.     The Members Of The Task Force “Occupy A
                             Continuing Position Established By Law”
     The defendants never get around to denying that the Task Force members “oc-
 cupy a continuing position established by law,”16 as they never even acknowledge this

 prong of the Lucia test. Instead, they beat around the bush by observing that the
 Task Force is not a federal “agency” or part of an “executive body”17— all of which
 may have some bearing on whether the Task Force members “occupy a continuing
 position established by law” but are far from dispositive of the question. The Court
 in Lucia chose its words carefully: An officer of the United States must “occupy a
 continuing position established by law.” Lucia, 138 S. Ct. at 2051. So this Court must
 resolve whether the “position” occupied by the Task Force members is: (1) “contin-
 uing” and (2) “established by law.”

     The U.S. Preventive Services Task Force was created in 1984 — and Congress has
 since codified a statute that recognizes and perpetuates its continued existence by
 requiring the director of the Agency for Healthcare Research and Quality (AHRQ)




 15. See Defs.’ Br., ECF No. 64, at 39–45.
 16. Lucia, 138 S. Ct. at 2051.
 17. Defs.’ Br., ECF No. 64, at 40.


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 to “convene” the Task Force and ensure that it is “composed of individuals with ap-
 propriate expertise”:

        The Director shall convene an independent Preventive Services Task
        Force (referred to in this subsection as the “Task Force”) to be com-
        posed of individuals with appropriate expertise.
 42 U.S.C. § 299b-4(a)(1) (attached as Exhibit 1). The statute goes on to describe the
 duties of the Task Force,18 the agency’s role in supporting the work of the Task
 Force,19 a statutory assurance of independence from political pressure,20 and an auto-
 matic authorization of annual appropriated funds.21
     How can this not qualify as a “continuing” position? An Act of Congress ensures
 the continued existence of the Task Force by requiring the director to “convene” it
 and establishing annual appropriations into the indefinite future. This is not a one-
 time gig or a short-term, non-renewable contract, but an office that will remain in
 perpetual existence unless and until Congress amends the statute. See, e.g., United
 States v. Germaine, 99 U.S. 508, 511–12 (1878) (holding that doctors called upon to
 conduct various physical exams were not “officers” because their duties were “occa-
 sional or temporary” rather than “continuing and permanent.”). The “position” oc-
 cupied by the Task Force members is indisputably “continuing,” even if the member-
 ship of the Task Force cycles and the tenure of individual members ends. See Officers


 18. 42 U.S.C. § 299b-4(a)(2).
 19. See 42 U.S.C. § 299b-4(a)(3) (“The Agency shall provide ongoing administra-
     tive, research, and technical support for the operations of the Task Force, includ-
     ing coordinating and supporting the dissemination of the recommendations of
     the Task Force, ensuring adequate staff resources, and assistance to those organ-
     izations requesting it for implementation of the Guide’s recommendations.”).
 20. See 42 U.S.C. § 299b-4(a)(6) (“All members of the Task Force convened under
     this subsection, and any recommendations made by such members, shall be in-
     dependent and, to the extent practicable, not subject to political pressure.”).
 21. See 42 U.S.C. § 299b-4(a)(7) (“There are authorized to be appropriated such
     sums as may be necessary for each fiscal year to carry out the activities of the
     Task Force.”).


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 of the United States Within the Meaning of the Appointments Clause, 31 Op. Off. Legal
 Counsel 73, 111 (Apr. 16, 2007) (“‘[C]ontinuance’ is not ‘permanence’”).
     The closest that the defendants come to addressing the “continuing position”
 issue is their citation of Riley v. St. Luke’s Episcopal Hospital, 252 F.3d 749 (5th Cir.
 2001), which claims that an “officer” must have “a continuing and formalized rela-
 tionship of employment with the United States Government.” Id. at 757 (emphasis
 added). The defendants interpret Riley to mean that an officer must be paid for his
 work, and that unpaid government officials cannot be regarded as officers no matter
 how much power they wield. See Defs.’ Br., ECF No. 64, at 42; id. (“Any role staffed
 by part-time volunteers is, by definition, not a ‘continuing and formalized relationship
 of employment with the United States Government’”). This interpretation of Riley is
 untenable, as we explained in our opening brief, and it directly contradicts the views
 of the Office of Legal Counsel, which emphatically rejects the notion that paid em-
 ployment is necessary for “officer” status.” See Pls.’ Br. in Supp. of MSJ, ECF No. 45,
 at 16–18; Officers of the United States Within the Meaning of the Appointments Clause,
 31 Op. Off. Legal Counsel 73, 120 (Apr. 16, 2007). Riley’s reference to “employ-

 ment” need not be construed to require paid employment, and the government is
 certainly “employing” the members of the Task Force by assigning them the statutory

 duties described in 42 U.S.C. § 299b-4(a)(2) and appropriating money for those pur-
 poses — even if the members of the Task Force are not drawing a salary or stipend for
 that work.22 More importantly, Lucia looks to whether the Task Force members oc-



 22. See, e.g., “employ.” Merriam-Webster.com. 2020. https://www.merriam-
     webster.com/dictionary/employ (March 28, 2022) (defining “employ” as “1a:
     to make use of (someone or something inactive) employ a pen for sketching; b:
     to use (something, such as time) advantageously a job that employed her skills;
     c(1): to use or engage the services of; (2): to provide with a job that pays wages
     or a salary; 2: to devote to or direct toward a particular activity or person em-
     ployed all her energies to help the poor.”); see also Officers of the United States


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 cupy a “continuing position” established by law — not to whether they occupy a “con-
 tinuing position of paid employment.” The “positions” that the Task Force members
 occupy are indisputably “continuing” positions, and the defendants never argue to
 the contrary.

                       b.      The Members Of The Task Force “Exercise
                               Significant Authority Pursuant To The Laws Of The
                               United States”
     The only remaining question is whether the Task Force members “exercise sig-

 nificant authority pursuant to the laws of the United States.” Lucia, 138 S. Ct. at
 2051. Here, too, the government avoids acknowledging this requirement of the two-
 prong Lucia test, and offers some desultory observations without tying its points back
 to the touchstone of “significant authority.” See Defs.’ Br., ECF No. 64, at 39–45.
 That the Task Force members serve as volunteers, for example, has nothing to do with
 the significance of the authority that they wield. See id. at 39.
     The defendants also deny that section 300gg-13(a)(1) gives the Task Force “pol-
 icymaking discretion,” or that it “authorizes” the Task Force “to make decisions about
 insurance coverage.” Id. at 40. But that is obviously untrue; section 300gg-13(a)(1),
 by its very terms, empowers the Task Force to decide the preventive care that private
 insurers must cover, because it compels private insurers to cover every item or service

 with an “A” or “B” rating in the Task Force’s recommendations. See 42 U.S.C.
 § 300gg-13(a)(1). The Task Force — and the Task Force alone — holds the power to
 decide whether every non-grandfathered private insurer must cover PrEP drugs with-
 out any cost-sharing arrangements. It is hard to fathom how that fails to qualify as
 “significant authority pursuant to the laws of the United States.” The defendants claim




      Within the Meaning of the Appointments Clause, 31 Op. Off. Legal Counsel 73,
      121 (Apr. 16, 2007).


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 that these powers conferred upon the Task Force reflect Congress’s judgment to “in-
 corporate [the] evolving standards of this body,”23 but the fact remains that Congress
 gave these far-reaching powers to the Task Force — and Congress’s motivations for
 doing so have nothing to do with whether Task Force holds “significant authority
 pursuant to the laws of the United States.”
     The defendants once again try to analogize section 300gg-13(a)(1) to federal
 statutes that incorporate evolving recommendations of the American National Stand-
 ards Institute (ANSI), as well as federal criminal offenses that are defined by reference
 to state or foreign law. See Defs.’ Br., ECF No. 64, at 41. The complete answer is that
 the members of ANSI and the state or foreign governments do not occupy “a contin-
 uing position established by [federal] law,”24 so they flunk the first requirement of the
 Lucia test. See Pls.’ Br. in Supp. of MSJ, ECF No. 45, at 20–21. All of this was ex-
 plained in our opening brief. See id. In addition, the authority that these statutes con-
 fer upon ANSI and state and foreign governments are far less “significant” than the
 powers that the Task Force wields under section 300gg-13(a)(1).
     Finally, the defendants suggest that the Task Force members would not qualify as

 “officers of the United States” under OLC’s current interpretation of the Appoint-
 ments Clause. See Defs.’ Br., ECF No. 64, at 43. The defendants note that the 2007

 OLC opinion had this to say when describing a House Judiciary Committee report
 from 1899:

        The Committee reasoned that a public office requires a delegation of
        sovereign authority, which “involves necessarily the power to (1) legis-
        late, or (2) execute law, or (3) hear and determine judicially questions
        submitted.”
 Officers of the United States Within the Meaning of the Appointments Clause, 31 Op.
 Off. Legal Counsel 73, 85 (Apr. 16, 2007). The defendants claim that the Task Force

 23. See Defs.’ Br., ECF No. 64, at 40.
 24. Lucia, 138 S. Ct. at 2051.


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 lacks any of those three enumerated powers, and that its members therefore do not
 hold a “public office” under the views of OLC. See Defs.’ Br., ECF No. 64, at 43.
     The problem with this argument is that OLC opinion goes on to say that the
 existence of an “office” is not necessary for the Appointments Clause to apply. See
 Officers of the United States Within the Meaning of the Appointments Clause, 31 Op.
 Off. Legal Counsel 73, 78 (Apr. 16, 2007) (“[T]he applicability of the [Appoint-
 ments] Clause does not depend on whether Congress has formally and directly cre-
 ated an ‘office.’ ”). And in all events, the members of the Task Force are wielding
 executive (or “quasi-legislative”) powers, because Congress has delegated to the Task
 Force the prerogative to determine the preventive care that private insurers must
 cover. See Gundy v. United States, 139 S. Ct. 2116, 2123–24, 2129–30 (2019) (plu-
 rality opinion of Kagan, J.). The defendants try to pass of the Task Force members as
 technocrats rather than policymakers, but section 300gg-13(a)(1) gives the Task
 Force sweeping powers to determine the scope of preventive-care coverage in private
 health insurance — including the prerogative to resolve explosive culture-war ques-
 tions such as the compulsory coverage of PrEP drugs and the scope of any religious

 exemptions that might be conferred. Cf. Little Sisters of the Poor Saints Peter & Paul
 Home v. Pennsylvania, 140 S. Ct. 2367, 2380 (2020) (holding that 42 U.S.C.

 § 300gg-13(a)(4) gives HRSA not only the authority to determine the “preventive
 care and screenings” that must be covered but also “the ability to identify and create
 exemptions from its own Guidelines.”). Decisions of this sort will always involve
 “cost/value judgments,”25 despite the defendants’ protestations to the contrary.




 25. Defs.’ Br., ECF No. 64, at 45.


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 III.   42 U.S.C. § 300gg-13(a)(1) Violates Article II’s Vesting
        Clause
     The defendants try to defeat the plaintiffs’ vesting-clause claim by reiterating their

 stance that the Task Force members wield neither “legislative” nor “executive” pow-
 ers — and are nothing more than cogs in a mechanical, “evidence-based” decision-
 making process. See Defs.’ Br., ECF No. 64, at 45. But this contention is just as im-
 plausible when used to rebut the plaintiffs’ vesting-clause claim. The Task Force mem-
 bers are resolving value-laden policy questions that implicate homosexual rights and
 religious freedom, and the extent to which health insurance should bear the costs of
 other people’s irresponsible behavior. The Constitution does not allow these types of
 decisions to be made by a headless fourth branch of government — and it cannot tol-
 erate an statutory provision that insulates the Task Force members from presidential
 removal or control. See United States v. Arthrex, Inc., 141 S. Ct. 1970, 1979 (2021);
 Seila Law LLC v. Consumer Financial Protection Bureau, 140 S. Ct. 2183, 2191–92
 (2020); Myers v. United States, 272 U.S. 52, 135 (1926).

     The defendants also claim that the proper “remedy” is to allow the Secretary to
 “ratify” the previously announced Task Force recommendations, which (in the de-
 fendants’ view) will obviate any constitutional problems caused by Article II’s vesting
 clause. See Defs.’ Br., ECF No. 64, at 46. But this remedy does nothing to cure the

 President’s lack of a removal power over the Task Force members, which is constitu-
 tionally required under Seila Law and Myers. It also fails to remove the taint of the
 unconstitutional process that produced the previous Task Force recommendations.
 Those recommendations had been offered at a time when Task Force members oper-
 ated under an unconstitutional guarantee of political independence and without any
 fear of presidential removal. Given that a Task Force recommendation is necessary to
 implement a preventive-care mandate, the process should start afresh with Task Force




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 members who are unaffected by the statutory promise of political insulation described
 in 42 U.S.C. § 299b-4.
       It continues to remain unclear to us how a federal court can incorporate the de-
 fendants’ proposed remedy into a judgment that can award only declaratory or in-
 junctive relief between the parties. And it remains unclear how this remedy — which
 the plaintiffs have never requested — could redress any of the injuries that the plaintiffs
 have alleged or established under Article III. See supra, at 20–22.

 IV.     42 U.S.C. § 300gg-13(1)–(4) Violates The Nondelegation
         Doctrine
       The defendants correctly observe that the Supreme Court and the Fifth Circuit
 have upheld very broad delegations of authority to administrative agencies. See Defs.’
 Br., ECF No. 64, at 48–54. But the non-delegation doctrine is not extinct, and the
 Supreme Court’s ruling in Little Sisters of the Poor Saints Peter & Paul Home v. Penn-
 sylvania, 140 S. Ct. 2367, 2380 (2020), makes clear that the doctrine remains judi-
 cially enforceable.
       The problem with the delegation of authority in section 300gg-13(a)(1)–(4) is
 that there is no “intelligible principle” in the language of the statute that purports to

 guide the discretion of the U.S. Preventive Services Task Force, ACIP, or HRSA in
 deciding which preventive care and services should be covered. The defendants note
 that section 300gg-13(a)(1) requires covered preventive care to have an “A” or “B”
 rating from the U.S. Preventive Services Task Force,26 but the Task Force has unlim-
 ited discretion to change its criteria for those ratings. The defendants also note that
 statutory provisions enacted before the Affordable Care Act confer duties on the Task
 Force and provide an intelligible principle for carrying out those duties,27 but the
 responsibilities describe in those pre-ACA statutes have nothing to do with the Task


 26. See Defs.’ Br., ECF No. 64, at 50.
 27. See Defs.’ Br., ECF No. 64, at 50.


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 Force’s responsibility to determine the scope of compulsory preventive-care coverage
 under the ACA. See 42 U.S.C. § 299b-4(a)(2) (enumerating the pre-ACA duties of
 the Preventive Services Task Force). And a requirement that the items and services be
 “evidence-based” does nothing, as everything is based on “evidence” of some sort,
 and the required intelligible principle must tell the Task Force is how it should assess
 the evidence when deciding whether to award an “A” or “B” rating. Nothing of the
 sort is provided in the statute.
       Sections 300gg-13(a)(2)–(4) suffer from similar problems, and the defendants
 try to create an intelligible by noting that subsection (a)(2) allows ACIP to compel
 coverage only of “immunizations,”28 that subsections (a)(3) and (a)(4) allow HRSA
 to compel coverage only of “preventive care and screenings,”29 and then only of pre-
 ventive care and screenings for “infants, children, and adolescents,”30 or “for
 women.”31 But this argument continues to equate a boundary on the scope of an
 agency’s authority with the intelligible principle needed to guide the agency’s discre-
 tion within those statutory boundaries. The government’s reliance on HRSA’s efforts
 to cabin its own discretion is similarly misguided,32 as an agency cannot cure a con-

 gressional failure to provide an intelligible principle in the statutory language by cre-
 ating or imposing those constraints on its own initiative. See Whitman v. American

 Trucking Associations, 531 U.S. 457, 473 (2001) (“The idea that an agency can cure
 an unconstitutionally standardless delegation of power by declining to exercise some
 of that power seems to us internally contradictory. The very choice of which portion
 of the power to exercise—that is to say, the prescription of the standard that Congress



 28.   42 U.S.C. § 300gg-13(a)(2).
 29.   42 U.S.C. § 300gg-13(a)(3)–(4).
 30.   42 U.S.C. § 300gg-13(a)(3).
 31.   42 U.S.C. § 300gg-13(a)(4).
 32.   See Defs.’ Br., ECF No. 64, at 52.


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 had omitted—would itself be an exercise of the forbidden legislative authority.
 Whether the statute delegates legislative power is a question for the courts, and an
 agency’s voluntary self-denial has no bearing upon the answer.”).
       The cases cited by the government all involved statutes in which some semblance
 of an “intelligible principle” appeared in the statutory language. Statutes that instruct
 agencies to determine and recover “excessive profits” from military contractors,33 or
 to set “fair and equitable” commodities prices,34 or to regulate in a manner consistent
 with “public interest, convenience, or necessity,”35 describe at least some standard for
 the agency to follow or aspire to. Section 300gg-13(a)(1)–(4) has nothing of this sort
 to provide guidance to the agency, and it appears to authorize the Preventive Services
 Task Force, ACIP, and HRSA to mandate coverage for whatever preventive care they
 want. The defendants note that HRSA’s decisions will remain subject to arbitrary-
 and-capricious review under the APA,36 but that does not salvage an unconstitutional
 delegation of authority. Merely telling an agency not to act in an arbitrary or capri-
 cious manner does not establish an “intelligible” principle.

 V.      The Compulsory Coverage Of Prep Drugs, The HPV
         Vaccine, And The Screenings And Behavioral Counseling
         For Stds And Drug Use Violates The Religious Freedom
         Restoration Act
       The defendants deny that the plaintiffs have established a “substantial burden”
 on their exercise of religion because they insist that the plaintiffs’ complicity objec-

 tions are factually unsupported. See Defs.’ Br., ECF No. 64, at 54–55. But it does not
 matter whether the plaintiffs are correct in believing that the compulsory coverage of
 PrEP drugs and objectionable preventive care will actually encourage behavior that



 33.   Lichter v. United States, 334 U.S. 742, 785-86 (1948).
 34.   Yakus v. United States, 321 U.S. 414, 420 (1944) (quotation marks omitted).
 35.   National Broadcasting Co. v. United States, 319 U.S. 190, 225–26 (1943).
 36.   See Defs.’ Br., ECF No. 64, at 53.


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 violates their religious beliefs. As long as they sincerely believe that purchasing or
 providing insurance that includes this coverage will make them complicit in conduct
 that contradicts their religious beliefs, a court cannot inquire further and ask whether
 those beliefs are supported with factual evidence. The Supreme Court made this as
 clear as can be in both Hobby Lobby and Little Sisters:

        [I]n Hobby Lobby, . . . we made it abundantly clear that, under RFRA,
        the Departments must accept the sincerely held complicity-based ob-
        jections of religious entities. That is, they could not “tell the plaintiffs
        that their beliefs are flawed” because, in the Departments’ view, “the
        connection between what the objecting parties must do . . . and the end
        that they find to be morally wrong . . . is simply too attenuated.”
 Little Sisters, 140 S. Ct. at 2383 (quoting Hobby Lobby, 573 U.S. at 723–24); see also
 id. at 2390 (Alito, J., concurring) (“If an employer has a religious objection to the
 use of a covered contraceptive, and if the employer has a sincere religious belief that
 compliance with the mandate makes it complicit in that conduct, then RFRA requires
 that the belief be honored.”); id. (Alito, J., concurring) (“It is undisputed that the
 Little Sisters have a sincere religious objection to the use of contraceptives and that
 they also have a sincere religious belief that utilizing the accommodation would make

 them complicit in this conduct. As in Hobby Lobby, ‘it is not for us to say that their
 religious beliefs are mistaken or insubstantial.’”); Amy J. Sepinwall, Conscience and
 Complicity: Assessing Pleas for Religious Exemptions in Hobby Lobby’s Wake, 82 U. Chi.
 L. Rev. 1897, 1900 (2015) (“[T]he mere fact that Hobby Lobby believed that it
 would be complicit, no matter how idiosyncratic its belief, sufficed to qualify it for an
 exemption.” (emphasis in original)). Each of the religious-objector plaintiffs has sub-
 mitted declarations attesting to their belief that that the objectionable coverage man-
 dates will make them complicit in conduct that violates their religious beliefs, and the
 defendants are not questioning the sincerity of those beliefs or the truth of the sworn
 declarations. Nothing more is needed to establish a substantial burden under RFRA.




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     The defendants are surely right to observe that the government has a “compelling
 interest” in preventing the spread of infectious disease,37 but that is not the correct
 way to frame the relevant governmental interest in a RFRA dispute. A court must
 “‘look beyond broadly formulated interests’ and . . . ‘scrutinize the asserted harm of
 granting specific exemptions to particular religious claimants’ — in other words, to
 look to the marginal interest in enforcing the contraceptive mandate in these cases.”
 Hobby Lobby, 573 U.S. at 726–27 (quoting Gonzales v. O Centro Espírita Beneficente
 Uniao do Vegetal, 546 U.S. 418, 431 (2006)). And the defendants cannot show that
 their efforts to force all private insurers to provide coverage for PrEP drugs, the HPV
 vaccine, and screenings and behavioral counseling for STDs and drug use — with no
 religious exemptions for anyone — is a policy of such overriding importance that it
 can tolerate no exceptions for religious objectors, especially when the ACA’s preven-
 tive-care coverage regime exempts grandfathered plans and exempts employers with
 fewer than 50 employees from the requirement to offer health insurance to their em-
 ployees. See Fulton v. Philadelphia, 141 S. Ct. 1868, 1882 (2021) (holding that the
 existence of exceptions “undermines the City’s contention that its non-discrimination

 policies can brook no departures” and faulting the city for “offer[ing] no compelling
 reason why it has a particular interest in denying an exception to CSS while making

 them available to others.”).
     Finally, the defendants are wrong to suggest that we somehow forfeited our “less
 restrictive means” proposal by failing to offer it in discovery. See Defs.’ Br., ECF No.
 64, at 59. Under RFRA, the burden of demonstrating a compelling governmental
 interest and the absence of a less restrictive means of furthering that compelling gov-
 ernmental interest rests entirely with the government. See 42 U.S.C. § 2000bb-1(b)
 (“Government may substantially burden a person’s exercise of religion only if it


 37. See Defs.’ Br., ECF No. 64, at 57.


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 demonstrates that application of the burden to the person — (1) is in furtherance of a
 compelling governmental interest; and (2) is the least restrictive means of furthering
 that compelling governmental interest.” (emphasis added)); DeOtte v. Azar, 332
 F.R.D. 173, 188 (N.D. Tex. 2019) (“The text of the statute makes plain that only the
 federal government can ‘demonstrate’ that this burden is ‘(1) is in furtherance of a
 compelling governmental interest; and (2) is the least restrictive means of furthering
 that compelling governmental interest.’ Id. § 2000bb-1(b).”). The plaintiffs have no
 obligation to produce evidence demonstrating that their proposed alternative will be
 less burdensome to their religious freedom. They need only to propose that alterna-
 tive and force the government to demonstrate why it fails to qualify as a “less restric-
 tive means” of advancing its supposedly compelling interest.38

                                   CONCLUSION
     The defendants’ motion for summary judgment should be denied, and the plain-
 tiffs’ motion for summary judgment should be granted.

                                             Respectfully submitted.

                                              /s/ Jonathan F. Mitchell
  Gene P. Hamilton                           Jonathan F. Mitchell
  Virginia Bar No. 80434                     Texas Bar No. 24075463
  Vice-President and General Counsel         Mitchell Law PLLC
  America First Legal Foundation             111 Congress Avenue, Suite 400
  300 Independence Avenue SE                 Austin, Texas 78701
  Washington, DC 20003                       (512) 686-3940 (phone)
  (202) 964-3721                             (512) 686-3941 (fax)
  gene.hamilton@aflegal.org                  jonathan@mitchell.law

  H. Dustin Fillmore III


 38. We agree with the defendants that any relief that the Court awards on the RFRA
     claims should be no more burdensome than necessary to provide complete relief
     to each of the named plaintiffs. See, e.g., Califano v. Yamasaki, 442 U. S. 682,
     702 (1979) (“[I]njunctive relief should be no more burdensome to the defend-
     ant than necessary to provide complete relief to the plaintiffs.”); Defs.’ Br., ECF
     No. 64, at 60 n.41.


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  Texas Bar No. 06996010
  Charles W. Fillmore
  Texas Bar No. 00785861
  The Fillmore Law Firm, LLP
  1200 Summit Avenue, Suite 860
  Fort Worth, Texas 76102
  (817) 332-2351 (phone)
  (817) 870-1859 (fax)
  dusty@fillmorefirm.com
  chad@fillmorefirm.com

  Dated: March 28, 2022                Counsel for Plaintiffs




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                        CERTIFICATE OF SERVICE
     I certify that on March 28, 2022, I served this document through CM/ECF
 upon:

 Christopher M. Lynch
 Jordan L. Von Bokern
 Trial Attorneys
 U.S. Department of Justice
 Civil Division
 1100 L Street, NW
 Washington, DC 20005
 (202) 353-4537 (phone)
 (202) 616-8460 (fax)
 christopher.m.lynch@usdoj.gov
 jordan.l.von.bokern2@usdoj.gov

 Brian W. Stoltz
 Assistant United States Attorney
 1100 Commerce Street, Third Floor
 Dallas, Texas 75242-1699
 (214) 659-8626 (phone)
 (214) 659-8807 (fax)
 brian.stoltz@usdoj.gov

 Counsel for the Defendants
                                        /s/ Jonathan F. Mitchell
                                       Jonathan F. Mitchell
                                       Counsel for Plaintiffs




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